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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                           Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                       PLAINTIFFS’ MOTION FOR TEMPORARY SEALING

            Pursuant to Rule 26 of the Federal Rules of Civil Procedure, and Local Civil Rule 5(C),

     Plaintiffs move the Court to enter an order allowing Plaintiffs to file under temporary seal a portion

     of their Memorandum in Support of Plaintiffs’ Motion to Compel (ECF No. 96), and nine exhibits

     to the supporting Declaration of Jeffrey M. Gould (Exs. G–O). Plaintiffs’ memorandum and

     exhibits contain documents and information that Defendants Cox Communications, Inc. and

     CoxCom, LLC (collectively “Cox”) designated as “Highly Confidential—Attorneys’ Eyes Only”

     or “Confidential” under the stipulated protective order. ECF No. 58.

            Plaintiffs do not believe the documents or information that are the subject of this motion

     should be subject to any confidentiality protection because they were used in open court and

     admitted into evidence during the public trial in BMG Rights Management v. Cox Communications,

     Inc. et al., 1:14-cv-1611 (the “BMG Litigation”). They were also discussed and quoted in a public

     filing in that case, which has been available to the public for many months. BMG v. Cox, ECF No.

     974. Plaintiffs have been forced to so move nevertheless because Cox insists on maintaining

     improper designations over publicly disclosed trial exhibits. Plaintiffs have informed Cox that

     they dispute these and all such designations. The process for resolving those disputes is set forth


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by the Stipulated Protective Order (ECF No. 58) and that process is under way. Plaintiffs therefore

request temporary sealing to comply with the Court’s Stipulated Protective Order in this action

and to allow Cox, as the designating party, to respond and explain why such sealing is necessary.

       1.      PX-1340, PX-1354, PX-1378, PX-1381, PX-1446, PX-1453, PX-1984 and PX-

2068 are internal email exchanges between Cox employees. These documents were used publicly

in the BMG trial, admitted into evidence, and no apparent steps were taken to limit their public

disclosure.

       2.      PX-1358 is a transcript of an internal chatroom conversation between Cox

employees. This document was used publicly in the BMG trial, admitted into evidence, and no

apparent steps were taken to limit its public disclosure.

       3.      Each of these nine exhibits was also discussed and quoted in a public filing in the

BMG case. BMG v. Cox, Case No. 1:14-cv-1611, ECF No. 974.

       4.      Local Civil Rule 5(C) provides that “[w]hen a party moves to file material under

seal because another party has designated that material as confidential, the party designating the

material as confidential must file a response to the motion,” which includes:

               a. “A statement why sealing is necessary, and why another procedure will not

                   suffice, as well as appropriate evidentiary support for the sealing request.” L.

                   Civ. R. 5(C)(2).

               b. “References to the governing case law, an analysis of the appropriate standard

                   to be applied for that specific filing, and a description of how that standard has

                   been satisfied.” Id. 5(C)(3).




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             c. “Unless permanent sealing is sought, a statement as to the period of time the

                 party seeks to have the matter maintained under seal and how the matter is to

                 be handled upon unsealing.” Id. 5(C)(4).

             d. A proposed order.




Dated February 1, 2019                             Respectfully submitted,

                                                   /s/ Scott. A Zebrak
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